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                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

                                                           Civil Action No. 2:18-cv-03326-RMG
SOUTH CAROLINA COASTAL                                     (Consolidated with 2:18-cv-3327-RMG)
CONSERVATION LEAGUE; et al.,

                       Plaintiffs
                                                           INTERVENOR-DEFENDANTS’
                       and                                 NOTICE OF JOINDER IN FEDERAL
                                                           DEFENDANTS’ REPLY TO
STATES OF MARYLAND, et al.                                 PLAINTIFF-INTERVENOR SOUTH
                                                           CAROLINA’S SUPPLEMENTAL
                       Intervenor-Plaintiffs,              AUTHORITY
v.

WILBUR ROSS, in his official capacity as the
Secretary of Commerce; et al.,

                       Defendants

                       and

INTERNATIONAL ASSOCIATION OF
GEOPHYSICAL CONTRACTORS, et al.

                       Intervenor-Defendants.



CITY OF BEAUFORT; et al.,

                       Plaintiffs,

v.

NATIONAL MARINE FISHERIES
SERVICE; et al.,

                       Defendants.


         Intervenor-Defendants International Association of Geophysical Contractors, CGG

Services (U.S.) Inc., GX Technology Corporation, Spectrum Geo Inc., TGS-NOPEC



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Geophysical Company, WesternGeco LLC, and American Petroleum Institute respectfully join

and support the Federal Defendants’ Reply to Plaintiff-Intervenor South Carolina’s Supplemental

Authority, Dkt. 298 (in reply to Dkt. 294).

DATED: May 24, 2019                       Respectfully submitted,


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INTERVENOR-DEFENDANTS’
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